Case 2:12-cv-02205-STA-tmp Document 21 Filed 02/18/14 Page 1 of 2                 PageID 112



                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
______________________________________________________________________

MICHAEL ANGELO TAYLOR,

       Plaintiff,

v.                                                 Civil Action No.: 2:12-cv-2205-STA-tmp

LESLIE’S POOLMART, INC.,

     Defendant.
______________________________________________________________________

                      STIPULATION OF DISMISSAL
______________________________________________________________________

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the Parties hereby stipulate and agree

to the dismissal of this action in its entirety, with prejudice, with each party to bear his or

its own costs, fees and expenses.

                                           Respectfully submitted,

                                           /s/ Michael Angelo Taylor (by permission)____
                                           Michael Angelo Taylor
                                           4401 English Pecan Cove
                                           Memphis, TN 38128
                                           Telephone: (901) 302-7586

                                           PRO SE PLAINTIFF

                                           /s/ Matthew G. Gallagher ___
                                           Lisa Lichterman Leach (TN Bar No.14486)
                                           Matthew G. Gallagher (TN Bar No. 27242)
                                           LITTLER MENDELSON, P.C.
                                           3725 Champion Hills Drive, Suite 3000
                                           Memphis, Tennessee 38125
                                           Telephone: (901) 795-6695
                                           lleach@littler.com
                                           mgallagher@littler.com

                                           ATTORNEYS FOR DEFENDANT
                                           LESLIE’S POOLMART, INC.
Case 2:12-cv-02205-STA-tmp Document 21 Filed 02/18/14 Page 2 of 2             PageID 113



                              CERTIFICATE OF SERVICE

        The undersigned certifies that on the 18th day of February, 2014, I electronically
filed the foregoing with the Clerk of the Court using the ECF System and forwarded a
copy to Pro Se Plaintiff Michael Angelo Taylor at the address below:

      Michael Angelo Taylor
      4401 English Pecan Cove
      Memphis, TN 38128

                                                /s/ Matthew G. Gallagher
